                              Case 1:11-cr-00087-TC Document 59 Filed 02/14/13 Page 1 of 6
~AO   245B    (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                           UNI~lBd~$i¥'if~PISTRICT COURT
                      NORTHERN                    1613 FEB ILJ' ,=>D~tr1c~ of                             UTAH
         UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
                               V.                    DISTRICT OF UTAH
               DARIN FRONK CLARIt y:
                                                       DEP1Tr{CI-E).----Case Number:                                           DUTX 1: 11 CR00087 TC
                                                              ' ... hK
                                                                                      USMNumber:                               18306-081

                                                                                      Deirdre A. Gorman
                                                                                      Defendant's Attorney
THE DEFENDANT:
.I pleaded guilty to count(s)        . ;C::..;:o:,:u::,:nt:..,l;;,. :;.;of:.. ;t::,:he.:. .:;:In:;;d:.:. :ic:,:tm:.::.:.;en;,.:t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

o pleaded nolo contendere to count(s)
  which was accepted by the court.
o was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty qfthese offenses:

Title & Section                     Nature of Offense                                                                          Offense Ended                      Count
18 U.S.C. § 2251(a)                 Production of Child Pornography                                                                                                1




       The defendant is sentenced as provided in pages 2 through                       _-.::.6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
.I Count(s)               2                                     .I   ~       o   are dismissed on the motion of the United States.
               ----~-----------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenCiant must notify the court and United States attorney of material changes in economIc circumstances.

                                                                                      February 11,2013
                                                                                      Date of mposition of Judgment




                                                                                      TENA CAMPBELL, United States District Court Judge
                                                                                      Name and Title of Judge
                              Case 1:11-cr-00087-TC Document 59 Filed 02/14/13 Page 2 of 6
AO 2458       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                   Judgment-Page _.:;:.2_ of   6
DEFENDANT:                       DARIN FRONK CLARK
CASE NUMBER:                     DUTX 1: 11 CR00087TC


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


            180 months



      I'The court makes the following recommendations to the Bureau of Prisons:

          The court recommends the defendant serve his sentence at the facility located at Terminal Island, California and that
          he participate in sex offender treatment. The court further recommends that the defendant receive a thorough
          meaical evaluation to address his medical needs and his need for immediate knee surgery.

      I'The defendant is remanded to the custody of the United States Marshal.

      DThe defendant shall surrender to the United States Marshal for this district:

          o     at
                      ---------------- o               a.m.     o    p.m.    on

          o     as notified by the United States Marshal.

      DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o     before 2 p.m. on

          o     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

 at   ______________________ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
                               Case 1:11-cr-00087-TC Document 59 Filed 02/14/13 Page 3 of 6
AO 245B        (Rev, 06/05) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page           3     of    6
DEFENDANT:                      DARIN FRONK CLARK
CASE NUMBER:                    DUTX 1: 11 CR00087TC
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


             120 MONTHS



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
./        The <ibove drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
./        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
./        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
./        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments slieet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries'by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence   01'   employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance 01' any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,     01'   administered;
     9)    the defendant shall not associate with any ]Jersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record Or personal history 01' characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant's compliance with such notification requirement.
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AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                          Judgment~Page   _4,-- of _--,6"--_
DEFENDANT:                DARIN FRONK CLARK
CASE NUMBER:              DUTX 1: 11 CR00087TC

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The Court orders the presentence report may be released to the state sex-offender registration agency if required
for purposes of sex-offender registration.
2 The defendant shall participate in a sex offender treatment program, as directed by the probation office.
3. The defendant is restricted from contact with individuals who are under 18 years of age without adult
supervision as approved by the probation office.
4. The defendant shall abide by the following occupational restrictions: Any employment shall be approved by the
probation office. In addition, if third-party risks are identified, the probation office is authorized to mform the
defendant's employer of his supervision status.
5. The defendant shall not view, access, or possess sexually explicit materials in any format.
6. The defendant shall submit his person, residence, office or vehicle to a search, conducted by the probation office
a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall
warn any other residents that the premises may be subject to searches pursuant to this condition.
7. The defendant shall participate in the United States Probation and Pretrial Services Office Computer and Internet
Monitoring Program under a copayment plan, and will comply with the provisions outlined in:

                            Appendix A, Limited Internet Access
                            (Computer and internet use, as approved)
Furthermore; all computers, internet accessible devices, media storage devices, and digital media accessible to the defendant
are subject to manual inspection/search, configuration, and the installation of monitoring software and/or hardware.
                           Case 1:11-cr-00087-TC Document 59 Filed 02/14/13 Page 5 of 6
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment - Page _-,,5_ _   of      6
DEFENDANT:                         DARlN FRONK CLARl(
CASE NUMBER:                       DUTX 1:11CR00087TC
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                             Restitution
TOTALS             $ 100.00                                            $                                  $


 D The determination of restitution is deferred until
     after such determination.
                                                             ---. An        Amended Judgment in a Criminal Case (AO 245C) wiJI be entered


 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the ~e~endant makes a partial payment, each payee shall receive an approximately proportioned payment, unless sp~ci,fied otherwise tn
     the pnontx order 01' percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal vlct!msmust be paId
     before the United States is paId.

 Name of Payee                                 Total Loss*                       Restitution Ordered                   Priority or Percentage




                                     $ _ _ _ _ _ _---...:°::.._
 TOTALS                                                                       $--------~o::..-

 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution 01' fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that;

       D the interest requirement is waived for the              D fine    D restitution,
       D the interest requirement for the             D   fine    D restitution is modified as follows:


 * Findings for the total amount of losses are reCJuired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                            Case 1:11-cr-00087-TC Document 59 Filed 02/14/13 Page 6 of 6
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                         Judgment- Page _-,,-6_ of            6
DEFENDANT:                  DARIN FRONK CLARK
CASE NUMBER:                DUTX 1: 11 CR00087TC

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     ./   Lump sum payment of $ ~1O.::.;O::.:'~OO::..-___ due immediately, balance due

           D     not later than                                  , or
           D     in accordance           D C,         D D,   D     E, or    D Fbelow; or
B     D    Payment to begin immediately (may be combined with              DC,       D D, or      D F below); or
 C    D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D    Spedal instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 ./   The defendant shall forfeit the defendant's interest in the following property to the United States:
      2 desk top computers, 1 laptop computer, 1 external hard drive, 2 internal hard drives, 2 Zip drives, 4 SD cards, 8 compact
      disks, 1 video/audio recording device which includes a 2GB Micro SD card.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
